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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF VIRGINIA

                         Alexandria Division


UNITED STATES,                     )
                                   )
            v.                     )
                                   )
WILLIAM DANIELCZYK, Jr., &         )       1:11cr85 (JCC)
EUGENE BIAGI,                      )
                                   )
     Defendants.                   )


                 M E M O R A N D U M          O P I N I O N


            This matter is before the Court on Defendant William

J. Danielczyk, Jr.’s Motion to Produce Certain Exculpatory

Evidence.   [Dkt. 30.]    For the following reasons, the Court will

grant in part this Motion.

                              I. Background

            On February 16, 2011, a grand jury sitting in the

Eastern District of Virginia returned a seven-count indictment

against William P. Danielczyk, Jr., and Eugene R. Biagi

(together, “Defendants”), charging them with illegally

soliciting and reimbursing contributions to Hillary Clinton’s

2006 Senate and 2008 Presidential Campaigns.           [Dkt. 1.]   Count 1

charged conspiracy in violation of 18 U.S.C. § 371, Counts 2 and

3 charged making campaign contributions in connection with

another in violation of 2 U.S.C. § 441f and 18 U.S.C. § 2, Count



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4 charged corporate contributions in violation of 2 U.S.C. §

441b and 18 U.S.C. § 2, Count 5 charged obstruction of justice

in violation of 18 U.S.C. §§ 1519, 2, and Counts 6 and 7 charged

causing false statements in violation of 18 U.S.C. §§

1001(a)(2), 2.    Joint trial is set for July 6, 2011.

           Mr. Danielczyk now moves the Court to compel the

Government to search certain files for possibly exculpatory

information.    He filed his motion and memorandum in support on

April 6, 2011 [Dkts. 30, 31 (“Mot.”)], the Government responded

in opposition on April 19, 2011 [Dkt. 38 (“Opp.”)], and he filed

a reply brief on April 25, 2011 [Dkt. 48 (“Reply”)].           Mr. Biagi

later joined Mr. Danielczyk’s motion.

           The Motion to Compel is before the Court.

                              II. Analysis

           At issue here is the scope of the Government’s duty

(if any) to search the files of relevant Executive-Branch

agencies for materials that are either exculpatory under Brady

v. Maryland, 373 U.S. 83, 87 (1963), or “material to preparing

the defense” under Federal Rule of Criminal Procedure 16.

Defendants argue that the Government should be required to

search Clinton-campaign-related files of other agencies, such as

the Federal Election Commission (“FEC”), for materials that

might tend to negate certain elements of the charges in this

case.


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            There is no general Constitutional right to discovery

in a criminal case.     See Pennsylvania v. Ritchie, 480 U.S. 39,

59-60 (1987).     Brady announced the requirement, under the Due

Process Clause, that the Government must disclose “evidence

favorable to an accused . . . where that evidence is material

either to guilt or to punishment.”        373 U.S. at 87.     “Brady

requests cannot be used as discovery devices.”          United States v.

Caro, 597 F.3d 608, 616 (4th Cir. 2010).         Brady does not require

that any materials be turned over on the chance that they might

be exculpatory.     United States v. Agurs, 427 U.S. 97, 109-10

(1976) (“The mere possibility that an item of undisclosed

information might have helped the defense, or might have

affected the outcome of the trial, does not establish

‘materiality’ in the constitutional sense.”).          Rather, evidence

is material and must be disclosed where “there is a reasonable

probability that, had the evidence been disclosed to the

defense, the result of the proceeding would have been

different.”     United States v. Bagley, 473 U.S. 667, 682 (1985).

            That standard differs somewhat from this Circuit’s

materiality standard under Rule 16.        That rule requires that the

Government “permit the defendant to inspect and to copy or

photograph” items that are within the Government’s possession,

custody, or control and that are “material to preparing the

defense.”   Fed. R. Crim. P. 16(a)(1)(E).        It thus provides for


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much broader discovery than that constitutionally required under

Brady.    But, in this Circuit, materials requested before trial

are only “material” where there is “some indication that the

pretrial disclosure of the disputed evidence would have enabled

the defendant significantly to alter the quantum of proof in his

favor.”    Caro, 597 F.3d at 621 (citing United States v. Ross,

511 F.2d 757, 763 (5th Cir. 1975)).

            With respect to Counts Two, Three, Six, and Seven, as

set forth in this Court’s Memorandum Opinion on the motions to

dismiss, the applicable mens rea in this case follows from

United States v. Bryan, 524 U.S. 184 (1998): the defendant must

have committed the actus reus while believing his actions to be

unlawful, though not necessarily with specific knowledge of the

law.   Thus, if information was communicated to Defendants

suggesting that their behavior was not unlawful, that

information would be material as negating the requisite mens

rea.   That said, as this Court is not applying the strictest

level of mens rea from Ratzlaf v. United States, 510 U.S. 135

(1994), and Cheek v. United States, 498 U.S. 192 (1991),

requiring specific knowledge of the law being violated, the

opinions of others regarding the statute’s ambiguity are not

material to the Defendants’ state of mind.

            Having found that evidence bearing on Defendants’

subjective view of the legality of their actions is material,


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the question remains what affirmative duty the prosecution team

has to uncover such information from the files of other

government agencies.

            The Supreme Court addressed this to a degree in Kyles

v. Whitley.    Writing that “the prosecution . . . alone can know

what [evidence] is undisclosed” and therefore what evidence may

be material, the Court stated that “this in turn means that the

individual prosecutor has a duty to learn of any favorable

evidence known to the others acting on the government's behalf

in the case, including the police.”        514 U.S. at 438 (emphasis

added).   Read literally, this at least requires prosecutors to

ask supporting government officials whether they know of

favorable evidence.     But does it also require an affirmative

search for such evidence?

            In every circuit to consider this question--the Fourth

Circuit not being one--the answer has been “yes.”          Probably the

most cited case on point is United States v. Brooks, in which

the D.C. Circuit found a duty to search for a particular file

where the file was linked to the case, where it could easily

retrieved, and where the local police department was “closely

aligned with the prosecution.”       966 F.2d 1500, 1503 (D.C. Cir.

1992).    Noting that prosecutors have their own incentive to

search related files to avoid surprises at trial, the Court

ruled nonetheless that the affirmative duty to search “stem[s]


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primarily from a sense that an inaccurate conviction based on

government failure to turn over an easily turned rock is

essentially as offensive as one based on government non-

disclosure.”    Id. at 1502-03.

           A number of circuits have agreed, and none appear to

have disagreed.    See, e.g., Hollman v. Wilson, 158 F.3d 177, 181

(3d Cir. 1998) (“The duty to search discourages the government

from intentionally keeping itself ignorant of information useful

to the defense.    However, where the government has diligently

searched, no Brady violation will be found.”) (citing Carey v.

Duckworth, 738 F.2d 875, 878 (7th Cir. 1984); United States v.

Young, 20 F.3d 758, 764 (7th Cir. 1994)); United States v.

Osorio, 929 F.2d 753, 761 (1st Cir. 1991) (“The prosecutor

charged with discovery obligations cannot avoid finding out what

‘the government’ knows simply by declining to make reasonable

inquiry of those in a position to have the relevant

knowledge.”); United States v. Perdomo, 929 F.2d 967, 971 (3d

Cir. 1991) (stating that it is inexcusable not to disclose a

witness’s criminal background where readily available to

prosecutors); United States v. Auten, 632 F.2d 478, 481 (5th

Cir. 1980) (“If disclosure were excused in instances where the

prosecution had not sought out information readily available to

it, we would be inviting and placing a premium on conduct

unworthy of representatives of the United States Government.”).


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             This position was stated at length in United States v.

Safavian, 233 F.R.D. 12 (D.D.C. 2005), a case where the

defendant was charged with making false statements in obtaining

the GSA’s permission to attend a trip with the lobbyist Jack

Abramoff.     Id. at 13.   Citing Kyles and Brooks, the district

court stated that prosecutors must “cause files to be searched

that are not only maintained by the prosecutor’s or

investigative agency’s office, but also by other branches of

government ‘closely aligned with the prosecution.’”           Id. at 17.

             As to the scope of the search, where the items

requested were emails concerning the defendant’s trip

potentially within GSA email accounts, the Court found it

“insufficient for the Justice Department merely to state that

while documents are not currently in its (or the FBI's)

possession it is continuing to make inquires of GSA employees

about e-mails . . . during the course of witness interviews.”

Id. at 19.    Instead, the court ordered the DOJ to make an

immediate formal written request to the GSA demanding “that [it]

conduct a thorough search for and produce to the Justice

Department all [relevant] e-mails-including archived e-mails on

hard drives-and correspondence sent to or from GSA officials

relating to [the matters at issue], as any other documents

relating to the same.”      Id.   The prosecutors could then




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determine what evidence needed to be disclosed under Rule 16 or

Brady.     Id.

             The Government contends that Defendants’ proper route

towards obtaining their sought information is by subpoenaing it

from the relevant agencies.      (Opp. at 9-10).     The D.C. Circuit

addressed that contention directly, finding it “unpersuasive,”

in In re Sealed Case No. 99-3096 (Brady Obligations), 185 F.3d

887, 897 (D.C. Cir. 1999).      The Court explained, “the prosecutor

is responsible for any favorable evidence known to the others

acting on the government's behalf in the case, including the

police.”     Id. (quoting Strickler v. Greene, 527 U.S. 263, 275

n.12 (1999)).    Thus, the appropriate way to obtain Brady

material “was to make a Brady request of the prosecutor.”            Id.

Moreover, though the Government cites cases holding that a

defendant has access to information if he can subpoena it from

an “independent” or “neutral” source, the Government surely does

not consider itself neutral, nor should it be.

             This Court thus agrees with the majority of other

courts that in certain cases, including this one, the

implementation of Brady and its progeny, including Kyles, may

require that the prosecution team review readily available

information held by closely aligned executive branch agencies.

As for which agencies need be searched here, Defendant seeks to




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search files of the DOJ (including other Clinton-related

prosecutions) and the FEC.         (Mot. at 3.)

              This Court agrees that the DOJ is a “closely aligned”

executive branch agency and that its relevant files should be

searched.      As for the FEC files, the Government represents that

the FEC has not contributed to this case in any way, (Opp. at

8), and therefore this Court finds that the FEC was not “closely

aligned” with the prosecution in this case and its files need

not be searched.

              As to the object of the search, because as explained

above the Government must prove that Defendants intended to act

unlawfully, the Government must search in good faith for

evidence as to what the Clinton campaign communicated, or was

likely to have communicated, to defendants, regarding

reimbursements.       For instance, such evidence could include

Clinton campaign communications to volunteer donors, especially

to Defendants, discussing reimbursements.1            But it would not

include, for example, internal Clinton or Government memoranda

questioning the interpretation of the relevant statutes, because




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  Defendants also seek evidence of wrongdoing by the Clinton campaigns,
arguing that such evidence would negate his alleged role as the “cause” of
contributions made in the name of another (under Counts Two and Three) or of
false statements (under Counts Six and Seven). Implicit in his claim is the
notion that only the proximate cause of a contribution in the name of
another, or of a false statement, is liable. But Defendants present no
support for this premise; and this Court knows of no such limitation under
the relevant statutes.


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the Government need not prove specific awareness of the law’s

commands in this case.

                            IV.    Conclusion

           For these reasons, the Court will grant in part the

motion, and will require that the Government search Department

of Justice files, in good faith, for evidence as to what the

Clinton campaign communicated, or was likely to have

communicated, to Defendants, regarding reimbursements, as set

forth above.




                                                /s/
May 26, 2011                              James C. Cacheris
Alexandria, Virginia              UNITED STATES DISTRICT COURT JUDGE




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